                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE

                                                       )
  JAMES R. WALTON and HELEN R.                         )
  WALTON,                                              )
                                                       )
         Plaintiffs,                                   )
                                                       )
  v.                                                   )   Case No. 1:17-mc-00330-TRM-
                                                       )   SKL
  CARRINGTON MORTGAGE SERVICES,                        )
  LLC, BANK OF AMERICA, and TAYLOR,                    )
  BEAN & WHITAKER,                                     )
                                                       )
         Defendants.                                   )



                         CORPORATE DISCLOSURE STATEMENT

        Carrington Mortgage Services, LLC is a Delaware limited liability company and is

 wholly owned by Carrington Mortgage Holdings, LLC.

        Carrington Mortgage Holdings, LLC is a Delaware limited liability company and is

 99.5% owned by Carrington Holding Company, LLC and 0.5% owned by a private individual.

        Carrington Holding Company, LLC is wholly owned by The Carrington Companies,

 LLC, a Delaware limited liability company. The Carrington Companies, LLC is 99.5% owned by

 a private individual and 0.5% owned by a private individual.

        There are no publicly held corporations holding stock in the amount of 10% or more in

 The Carrington Companies, LLC.

               Respectfully submitted this 26th day of March, 2018.




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                                              Respectfully submitted,

                                              BRADLEY ARANT BOULT CUMMINGS LLP


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                                                     Attorney for Defendant Carrington Mortgage
                                                     Services, LLC




                                 CERTIFICATE OF SERVICE

          I hereby certify that on March 26, 2018, a copy of the foregoing was filed electronically
 with the Clerk’s office by using the CM/ECF system and served electronically and/or via first-
 class U.S. mail, postage prepaid, upon all parties as indicated below. Parties may also access this
 filing through the Court’s ECF system.

         James R. Walton                             Taylor, Bean & Whitaker
         Helen R. Walton                             c/o Carifield, Okon, Solomon,
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         Akron, Ohio 44313                           500 Austrian Avenue, #325
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                                            /s/ Brian R. Epling
                                            Brian R. Epling




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